                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 MARCUS D. WINSTON,

               Petitioner,

 v.                                                       3:06-cr-012
                                                          3:12-cv-379


 UNITED STATES OF AMERICA,

               Respondent.


                               MEMORANDUM AND ORDER


        Petitioner has filed a motion to vacate, set aside or correct sentence pursuant to 28

 U.S.C. § 2255. There is also pending a motion to recall the mandate pursuant to Rule

 60(b)(5). It is not clear what mandate petitioner is referring to and the motion to recall

 [Court File No. 279] is DENIED as MOOT.

        Petitioner was convicted of conspiracy to distribute and possess with intent to

 distribute cocaine hydrochloride and five grams or more of cocaine base. He previously filed

 a § 2255 motion attacking the same conviction, which was denied on the merits. Marcus D.

 Winston v. United States, Civil Action No. 3:08-cv-013 (E.D. Tenn. Oct. 20, 2011)

 (Judgment Order). In accordance with the "Antiterrorism and Effective Death Penalty Act

 of 1996," effective April 24, 1996, the petitioner cannot file a second or successive § 2255

 motion in the district court until he has moved in the United States Court of Appeals for the



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 Sixth Circuit for an order authorizing the district court to consider the motion. This court has

 not received an order from the Sixth Circuit authorizing the court to consider the pending

 motion. Accordingly, the Clerk is DIRECTED to transfer this action to the United States

 Court of Appeals for the Sixth Circuit, pursuant to 28 U.S.C. § 1631. See In re Sims, 111

 F.3d 45 (6th Cir. 1997).


        ENTER:
                                                           s/ Leon Jordan
                                                      United States District Judge




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